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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division
UNITED STATES ()F AMERICA
-vs- Case No. l:OScr10047-001T

DENNIS LEE CHUMNEY

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

'l`his Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled ease, and is otherwise qualified for appointment ofcounsel. Aecordingly,
the Court makes the following appointment pursuant to the Crirninal Justiee Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The F ederal Publie Defender is appointed as counsel for the Defendant.
TYPE ()F APP()INTMENT
' All purposes including trial and appeal

D()NE and ORDERED in lll South Highland, Jackson, this Sth day of J'uly, 2005.

M
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Off`lce

Assistant F ederal Publie Defender

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10047 Was distributed by faX, mail, or direct printing on
.luly l 1, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

